        Case 1:22-cr-00089-APM Document 13 Filed 05/05/22 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                  :
                                          :
             v.                           :       CASE NO. 22-CR-00089
                                          :
NANCY BARRON,                             :
                                          :
                     Defendant.           :

                              NOTICE OF WITHDRAWAL

       The United States of America by and through its attorney, the United States Attorney

for the District of Columbia, informs the Court that Trial Attorney Laura Hill, as counsel

for the United States, is terminating her appearance as counsel of record in this matter. All

other government counsel noted on the docket at the time of this filing will remain counsel

for the United States.


                                                  Respectfully Submitted,

                                                  MATTHEW M. GRAVES
                                                  UNITED STATES ATTORNEY D.C.
                                                  D.C. Bar No. 481052

                                          by:     /s/ Laura E. Hill
                                                  LAURA E. HILL
                                                  Trial Attorney, Detailee
                                                  NV Bar Number 13894
                                                  175 N Street, NE, 9th Floor
                                                  Washington, D.C. 20002
                                                  (202) 598-3962
                                                  Laura.E.Hill@usdoj.gov
